   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 1 of 8


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

JOSEPH ELWELL, CRYSTAL                        )
ELWELL, DEBORAH BALDWIN,                      )
Individually and as custodian for her         )
Minor children WM and AM,                     )
ROBERT BALDWIN,                               )
                                              )       Case No. 2:16-CV-158
                Plaintiffs,                   )
                                              )
        v.                                    )
                                              )
FIRST BAPTIST CHURCH OF                       )
HAMMOND, INDIANA, INC.,                       )
                                              )
                Defendant.                    )

                                             ORDER

       This matter is before the court on the Agreed Motion for Entry of a Confidentiality and

Protective Order [DE 33] filed by the parties on October 12, 2016. In light of the parties’

agreement and the court being fully advised in this matter, hereby GRANTS the motion and

enters the following CONFIDENTIALITY AND PROTECTIVE ORDER:

       1.      Scope. All materials produced or adduced in the course of discovery, including

but not limited to initial disclosures, responses to discovery requests, deposition testimony and

exhibits, and information derived directly therefrom (hereinafter collectively “documents”), shall

be subject to this Order concerning Confidential Information as defined below. This Order is

subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters of

procedure and calculation of time periods.

       2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by

the producing party that falls within one or more of the following categories: (a) information
   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 2 of 8


protected from disclosure by statute; (b) information that reveals private and confidential

financial information of First Baptist Church of Hammond, Indiana, Inc; Jack Schaap; Joseph

Elwell; Crystal Elwell; Deborah Baldwin; Ms. Baldwin’s minor children WM and AM; and/or

Robert Baldwin, including but not limited to balance sheets, income, assets, liabilities, donations,

tithes, loans, gifts, “love offerings” and other monies received; (c) communications,

correspondence, e-mails and/or facsimiles that contain private and confidential financial

information of First Baptist Church of Hammond, Indiana, Inc.; Jack Schaap; Joseph Elwell;

Crystal Elwell; Deborah Baldwin; Ms. Baldwin’s minor children WM and AM; and/or Robert

Baldwin; (d) personal identity information; and (e) personnel or employment records of a person

who is not a party to this case;

       Information or documents that are available to the public may not be designated as

Confidential Information.

       3.      Designation.

               a.      A party may designate a document as Confidential Information for
                       protection under this Order by placing or affixing the words
                       “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the
                       document and on all copies in a manner that will not interfere with the
                       legibility of the document. As used in this Order, “copies” includes
                       electronic images, duplicates, extracts, summaries or descriptions that
                       contain the Confidential Information. The marking “CONFIDENTIAL –
                       SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or at the
                       time of the documents are produced or disclosed. Applying the marking
                       “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” to a
                       document does not mean that the document has any status or protection by
                       statute or otherwise except to the extent and for the purposes of this Order.
                       Any copies that are made of any documents marked “CONFIDENTIAL –
                       SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except
                       that indices, electronic databases or lists of documents that do not contain
                       substantial portions or images of the text of marked documents and do not
                       otherwise disclose the substance of the Confidential Information are not
                       required to be marked.




                                                 2
USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 3 of 8


         b.     The designation of a document as Confidential Information is a
                certification by an attorney that the document contains Confidential
                Information as defined in this order.

   4.    Depositions.

         a.     Deposition testimony is protected by this Order only if designated as
                “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the
                record at the time the testimony is taken. Such designation shall be
                specific as to the portions that contain Confidential Information.
                Deposition testimony so designated shall be treated as Confidential
                Information protected by this Order until fourteen days after delivery of
                the transcript by the court reporter to any party or the witness. Within
                fourteen (14) days after delivery of the transcript, a designating party may
                serve a Notice of Designation to all parties of record identifying the
                specific portions of the transcript that are designated Confidential
                Information, and thereafter those portions identified in the Notice of
                Designation shall be protected under the terms of this Order. The failure
                to serve a timely Notice of Designation waives any designation of
                deposition testimony as Confidential Information that was made on the
                record of the deposition, unless otherwise ordered by the Court.

   5.    Protection of Confidential Material.

         a.     General Protections. Confidential Information shall not be used or
                disclosed by the parties, counsel for the parties or any other persons
                identified in subparagraph (b) for any purpose whatsoever other than in
                this litigation, including any appeal thereof.

         b.     Limited Third-Party Disclosures. The parties and counsel for the parties
                shall not disclose or permit the disclosure of any Confidential Information
                to any third person or entity except as set-forth in subparagraphs (1)-(9).
                Subject to these requirements, the following categories of persons may be
                allowed to review Confidential Information:

                (1)     Counsel. Counsel for the parties and employees of counsel who
                        have responsibility for the preparation and trial of the action;

                (2)     Parties. Individual parties and employees of a party but only to
                        the extent counsel determines in good faith that the employee’s
                        assistance is reasonably necessary to the conduct of the litigation in
                        which the information is disclosed;

                (3)     The Court and its personnel;

                (4)     Court Reporters and Recorders. Court reporters and recorders
                        engaged for depositions;

                                          3
   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 4 of 8


                      (5)     Contractors. Those persons specifically engaged for the limited
                              purpose of making copies of documents or organizing or
                              processing documents, including outside vendors hired to process
                              electronically stored documents;

                      (6)     Consultants and Experts. Consultants, investigators, or experts
                              employed by the parties or counsel for the parties to assist in the
                              preparation and trial of this action but only after such persons have
                              completed the certification contained in Attachment A,
                              Acknowledgment of Understanding and Agreement to Be Bound;
                              and

                      (7)     Witnesses at depositions. During their depositions, witnesses in
                              this action to whom disclosure is contemplated by counsel as being
                              reasonably necessary. Witnesses shall not retain a copy of
                              documents containing Confidential Information, except witnesses
                              may receive a copy of all exhibits marked at their depositions in
                              connection with review of the transcripts. Pages of transcribed
                              deposition testimony or exhibits to depositions that are designated
                              as Confidential Information pursuant to the process set out in this
                              Order must be separately bound by the court reporter and may not
                              be disclosed to anyone except as permitted under this Order.

                      (8)     Author or recipient. The author or recipient of the document (not
                              including the person who received the document in the course of
                              the litigation); and

                      (9)     Others by Consent. Other persons only by written consent of the
                              producing party or upon order of the Court and on such conditions
                              as may be agreed or ordered.

               c.     Control of Documents. Counsel for the parties shall make reasonable
                      efforts to prevent unauthorized or inadvertent disclosure of Confidential
                      Information. Counsel shall maintain the originals of the forms signed by
                      persons acknowledging their obligations under this Order for a period of
                      three years after the termination of the case.

       6.      Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was


                                                4
   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 5 of 8


initially produced, the receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure to so designate was inadvertent and where the material is subsequently

designated Confidential Information.

       7.      Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with Local Rule 26-2.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

       9.      Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

               a.      Meet and Confer. A party challenging the designation of Confidential
                       Information must do so in good faith and must begin the process by
                       conferring directly with counsel for the designating party. In conferring,
                       the challenging party must explain the basis for its belief that the
                       confidentiality designation was not proper and must give the designating
                       party an opportunity to review the designated material, to reconsider the
                       designation, and, if no change in designation is offered, to explain the
                       basis for the designation. The designating party must respond to the
                       challenge within five (5) business days.

               b.      Judicial Intervention. A party that elects to challenge a confidentiality
                       designation may file and serve a motion that identifies the challenged
                       material and sets forth in detail the basis for the challenge. Each such
                                                  5
   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 6 of 8


                       motion must be accompanied by a competent declaration that affirms that
                       the movant has complied with the meet and confer requirements of this
                       procedure. The burden of persuasion in any such challenge proceeding
                       shall be on the designating party. Until the Court rules on the challenge,
                       all parties shall continue to treat the materials as Confidential Information
                       under the terms of this Order.

       10.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

       11.     Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the admissibility of any document, material, or information at any

trial or hearing. A party that intends to present or which anticipates that another party may

present Confidential information at a hearing or trial shall bring that issue to the Court’s and

parties’ attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

       12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

               a.      If a receiving party is served with a subpoena or an order issued in other
                       litigation that would compel disclosure of any material or document
                       designated in this action as Confidential Information, the receiving party
                       must so notify the designating party, in writing, immediately and in no
                       event more than three (3) court days after receiving the subpoena or order.
                       Such notification must include a copy of the subpoena or court order.

               b.      The receiving party also must immediately inform in writing the party
                       who caused the subpoena or order to issue in the other litigation that some
                       or all of the material covered by the subpoena or order is the subject of
                       this Order. In addition, the receiving party must deliver a copy of this
                       Order promptly to the party in the other action that caused the subpoena to
                       issue.


                                                  6
   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 7 of 8


               c.      The purpose of imposing these duties is to alert the interested persons to
                       the existence of this Order and to afford the designating party in this case
                       an opportunity to try to protect its Confidential Information in the court
                       from which the subpoena or order issued. The designating party shall bear
                       the burden and the expense of seeking protection in that court of its
                       Confidential Information, and nothing in these provisions should be
                       construed as authorizing a receiving party in this action to disobey a
                       lawful directive from another court. The obligations set forth in this
                       paragraph remain in effect while the party has in its possession, custody or
                       control Confidential Information by the other party to this case.

       13.     Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

       14.     Obligations on Conclusion of Litigation.

               a.      Unless otherwise agreed or ordered, this Order shall remain in force after
                       dismissal or entry of final judgment not subject to further appeal.

               b.      Within thirty (30) days after dismissal or entry of final judgment not
                       subject to further appeal, all Confidential Information and documents
                       marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”
                       under this Order, including copies as defined in 3(a), shall be returned to
                       the producing party unless: (1) the document has been offered into
                       evidence or filed without restriction as to disclosure; (2) the parties agree
                       to destruction in lieu of return; or (3) as to documents bearing the
                       notations, summations, or other mental impressions of the receiving party,
                       that party elects to destroy the documents and certifies to the producing
                       party that it has done so. Notwithstanding the above requirements to
                       return or destroy documents, counsel may retain attorney work product,
                       including an index which refers or relates to designated Confidential
                       Information so long as that work product does not duplicate verbatim.
                       Substantial portions of Confidential Information, and one complete set of
                       all documents filed with the Court including those filed under seal. Any
                       retained Confidential Information shall continue to be protected under this
                       Order. An attorney may use his or her work product in subsequent
                       litigation provided that its use does not disclose or use Confidential
                       Information.

               c.      Deletion of Documents Filed under Seal from ECF System. Filings under
                       seal shall be deleted from the ECF system only upon order of the Court.


                                                 7
   USDC IN/ND case 2:16-cv-00158-APR document 35 filed 10/14/16 page 8 of 8


       15.      Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a party or any other person with standing

concerning the subject matter.

       16.      No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counselor the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

       17.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

       ENTERED this 14th day of October, 2016.

                                                             /s/ Andrew P. Rodovich
                                                             United States Magistrate Judge




                                                  8
